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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


DR. A, NURSE A., DR. C., NURSE D., DR. F., DR. G.,
THERAPIST I., DR. J., NURSE J., DR. M., NURSE N., DR.
O., DR. P., TECHNOLOGIST P., DR. S., NURSE S., and                        STIPULATION AND
PHYSICIAN LIASION X.,                                                         ORDER OF
                                                                          DISCONTINUANCE
                                                     Plaintiffs,         PURSUANT TO RULE
                                                                                41(A)
                           -against-
                                                                               1:21-CV-1009
KATHY HOCHUL, GOVERNOR OF THE STATE OF
NEW YORK, in her official capacity, JAMES V.                                    (DNH)(ML)
MCDONALD, COMMISSIONER OF THE NEW YORK
STATE DEPARTMENT OF HEALTH, in his official
capacity, and LETITIA JAMES, ATTORNEY GENERAL
OF THE STATE OF NEW YORK, in her official capacity,


                                                  Defendants.



        The subject of this action, the “vaccine mandate” for healthcare workers in Section 2.61 of

Title 10, New York Codes, Rules and Regulations, having been repealed on October 4, 2023, and

the Plaintiffs herein having thereafter elected not to proceed further with this action in view of that

repeal, it is hereby

        STIPULATED AND AGREED by and between the undersigned, plaintiffs Dr. A, Nurse

A., Dr. C., Nurse D., Dr. F., Dr. G., Therapist I., Dr. J., Nurse J., Dr. M., Nurse N., Dr. O., Dr. P.,

Technologist P., Dr. S., Nurse S., and Physician Liaison X (collectively “plaintiffs”), by their

attorney Christopher A. Ferrara, Esq., and Letitia James, Attorney General of the State of New

York, Ryan W. Hickey, Assistant Attorney General, of counsel, appearing for defendants

Governor Kathy Hochul, in her official capacity, Commissioner of Health James V. McDonald, in
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his official capacity, and Attorney General Letitia James, in her official capacity, (collectively

“defendants”), parties to the above-entitled action, that whereas no party hereto is an infant or

incompetent person for whom a committee has been appointed, and no person not a party has an

interest in the subject matter of the action, pursuant to Rule 41(a) of the Federal Rules of Civil

Procedure, plaintiffs hereby discontinue this action without prejudice and without damages, costs,

interest or attorneys’ fees.

Dated: Whitestone, New York
       November 30, 2023                     /s/ Christopher A. Ferrara
                                             Christopher A. Ferrara, Esq.
                                             Thomas More Society
                                                     Attorney for Plaintiffs
                                             148-29 Cross Island Parkway
                                             Whitestone, New York 11357
                                             Telephone: 718-357-1040
                                             Email: cferrara@thomasmoresociety.org

Dated: Albany, New York
       November 30 , 2023
                                             LETITIA JAMES
                                             Attorney General
                                             State of New York
                                                     Attorney for Defendants
                                             The Capitol
                                             Albany, New York 12224-0341

                                             By: ____________________________________
                                             Ryan W. Hickey
                                             Assistant Attorney General, of Counsel
                                             Bar Roll No. 519020
                                             Telephone: (518) 776-2616
                                             Email: Ryan.Hickey@ag.ny.gov


      12-01-2023




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